                    Case 19-31275 Document 43 Filed in TXSB on 07/26/19 Page 1 of 5




                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION
IN RE: MICHAEL VEACH                                            CASE NO: 19-31275
       CARLA VEACH                                              DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7
                                                                ECF Docket Reference No. 42
                                                                Judge: Jeff Norman
                                                                Hearing Location: Courtroom 403 15 Rusk
                                                                Hearing Date: August 14, 2019
                                                                Hearing Time: 11:00


On 7/26/2019, I did cause a copy of the following documents, described below,
Chapter 7 Trustee's Motion for Reconsideration of Order Denying Applicationto Employ ECF Docket Reference No. 42




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 7/26/2019
                                                          /s/ Randy W. Williams
                                                          Randy W. Williams
                                                          Byman & Associates PLLC
                                                          7924 Broadway Ste 104
                                                          Pearland, TX 77581
                                                          281 884 9262
                         Case 19-31275 Document 43 Filed in TXSB on 07/26/19 Page 2 of 5




                                        UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
 IN RE: MICHAEL VEACH                                                   CASE NO: 19-31275
        CARLA VEACH
                                                                        CERTIFICATE OF SERVICE
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On 7/26/2019, a copy of the following documents, described below,

Chapter 7 Trustee's Motion for Reconsideration of Order Denying Applicationto Employ ECF Docket Reference No. 42




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 7/26/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Randy W. Williams
                                                                            Byman & Associates PLLC
                                                                            7924 Broadway Ste 104
                                                                            Pearland, TX 77581
                    Case
PARTIES DESIGNATED AS     19-31275
                      "EXCLUDE"        Document
                                WERE NOT SERVED VIA43
                                                    USPSFiled
                                                         FIRSTinCLASS
                                                                 TXSB    on 07/26/19 Page 3 of 5
                                                                      MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                AMERICAN EXPRESS NATIONAL BANK           KOHLS
1LABEL MATRIX FOR LOCAL NOTICING         CO BECKET AND LEE LLP                    CO BECKET AND LEE LLP
05414                                    PO BOX 3001                              PO BOX 3001
CASE 19-31275                            MALVERN PA 19355-0701                    MALVERN PA 19355-0701
SOUTHERN DISTRICT OF TEXAS
HOUSTON
FRI JUL 26 11-11-20 CDT 2019



MIDFIRST BANK                            PRA RECEIVABLES MANAGEMENT LLC           TRUSTMARK NATIONAL BANK
CO BDFTE LLP                             PO BOX 41021                             14604 NORTHWEST FREEWAY
4004 BELT LINE RD STE 100                NORFOLK VA 23541-1021                    HOUSTON TX 77040-4031
ADDISON TX 75001-4320




                                         EXCLUDE
WELLS FARGO BANK NA                                                               ACTIVE LIFE DENTRISTRY
CO BDFTE LLP                             4                                        9740 BARKER CYPRESS ROAD
4004 BELT LINE RD STE 100                UNITED STATES BANKRUPTCY COURT           CYPRESS TX 77433-1975
ADDISON TX 75001-4320                    PO BOX 61010
                                         HOUSTON TX 77208-1010




AFFILIATED ACCEPTANCE CORP               ALLY FINANCIAL                           AMEX
14443 N STATE HIGHWAY 5                  ATTN BANKRUPTCY DEPT                     CORRESPONDENCE
SUNRISE BEACH MO 65079-6983              PO BOX 380901                            PO BOX 981540
                                         BLOOMINGTON MN 55438-0901                EL PASO TX 79998-1540




BBVA COMPASS                             BAKER ASSOCIATES                         BEST BUY
ATTN BANKRUPTCY                          950 ECHO LANE SUITE 200                  P O BOX 60148
PO BOX 10566                             HOUSTON TX 77024-2822                    CITY OF INDUSTRY CA 91716-0148
BIRMINGHAM AL 35296-0001




CAPITAL ONE                              CAPITAL ONEHELZBERG                      CHASE CARD SERVICES
ATTN BANKRUPTCY                          ATTN BANKRUPTCY                          CORRESPONDENCE DEPT
PO BOX 30285                             PO BOX 30285                             PO BOX 15298
SALT LAKE CITY UT 84130-0285             SALT LAKE CITY UT 84130-0285             WILMINGTON DE 19850-5298




CITIBANKSEARS                            DEPT OF ED NAVIENT                       DISCOVER FINANCIAL
CENTRALIZED BANKRUPTCY                   ATTN CLAIMS DEPT                         PO BOX 3025
PO BOX 790034                            PO BOX 9635                              NEW ALBANY OH 43054-3025
ST LOUIS MO 63179-0034                   WILKES BARR PA 18773-9635




FEDLOAN SERVICING                        FIRST COMMUNITY CU                       FIRST PREMIER BANK
ATTENTION BANKRUPTCY                     ATTN BANKRUPTCY                          PO BOX 5524
PO BOX 69184                             15260 FARM TO MARKET RD 529              SIOUX FALLS SD 57117-5524
HARRISBURG PA 17106-9184                 HOUSTON TX 77095




HOUSTON METHODIST                        HOUSTON METHODIST                        INDIANA CHILD SUPPORT BUREAU
PO BOX 3133                              PO BOX 4315                              PO BOX 7130
HOUSTON TX 77253-3133                    HOUSTON TX 77210-4315                    INDIANAPOLIS IN 46207-7130
                    Case
PARTIES DESIGNATED AS     19-31275
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INTERNAL REVENUE SERVICE                 JAMIE CREAGER                            KOHLSCAPITAL ONE
CENTRALIZED INSOLVENCY OPERATIONS        1210 MERLINS OAKS                        KOHLS CREDIT
PO BOX 7346                              SPRING TX 77379-3671                     PO BOX 3120
PHILADELPHIA PA 19101-7346                                                        MILWAUKEE WI 53201-3120




LINCOLN AUTOMOTIVE FINANCIAL SERVICE     LORD NAVILLE WARD LLC                    MD ANDERSON
ATTN BANKRUPTCY                          506 STATE STREET                         PO BOX 4460
PO BOX 542000                            PO BOX 1343                              HOUSTON TX 77210-4460
OMAHA NE 68154-8000                      NEW ALBANY IN 47151-1343




MIDLAND MORTGAGE CO                      NBT BANK NA                              NEPTUNE ER SERVICES PA
ATTN CUSTOMER SERVICEBANKRUPTCY          20 MOHAWK ST                             PO BOX 9804
PO BOX 26648                             CANAJOHARIE NY 13317-1144                HOUSTON TX 77213-0804
OKLAHOMA CITY OK 73126-0648




NISSAN MOTOR ACCEPTANCE                  OCWEN LOAN SERVICING                     PRIMEWAY FEDERAL CU
LOSS RECOVERY                            ATTN RESEARCHBANKRUPTCY                  PO BOX 53088
PO BOX 660366                            1661 WORTHINGTON RD STE 100              HOUSTON TX 77052-3088
DALLAS TX 75266-0366                     WEST PALM BEACH FL 33409-6493




ROSEHILL CHRISTIAN SCHOOL                S G OWNERS ASSOCIATION INC               SAN ANTONIO CREDIT UNI
19830 FM 2920                            11000 CORPORATE CENTRE                   ATTN BANKRUPTCY
TOMBALL TX 77377-5605                    SUITE 150                                PO BOX 1356
                                         HOUSTON TX 77041-5179                    SAN ANTONIO TX 78295-1356




SYNCBROOMS TO GO                         SYNCBCCDSTR                              SYNCHRONY BANK JC PENNEYS
ATTN BANKRUPTCY                          PO BOX 96060                             ATTN BANKRUPTCY DEPT
PO BOX 965060                            ORLANDO FL 32896-0001                    PO BOX 965060
ORLANDO FL 32896-5060                                                             ORLANDO FL 32896-5060




SYNCHRONY BANKBANANA REPUBLIC            SYNCHRONY BANKCARE CREDIT                SYNCHRONY BANKYAMAHA
ATTN BANKRUPTCY DEPT                     ATTN BANKRUPTCY DEPT                     ATTN BANKRUPTCY DEPT
PO BOX 965060                            PO BOX 965061                            PO BOX 965060
ORLANDO FL 32896-5060                    ORLANDO FL 32896-5061                    ORLANDO FL 32896-5060




TD AUTO FINANCE                          TEXAS DOW EMPLOYEES CU                   TOYOTA MOTOR CREDIT CORPORATION
PO BOX 9001865                           1001 F M 2004                            PO BOX 8026
LOUISVILLE KY 40290-1865                 LAKE JACKSON TX 77566-4012               CEDAR RAPIDS IA 52408-8026




TRUSTMARK NATIONAL BANK                  TRUSTMARK NATIONAL BANK                  US TRUSTEE
1845 HIGHWAY 6                           PO BOX 291                               OFFICE OF THE US TRUSTEE
SUGAR LAND TX 77478-4964                 JACKSON MS 39205-0291                    515 RUSK AVE
                                                                                  STE 3516
                                                                                  HOUSTON TX 77002-2604
                    Case
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                                                                      MAIL
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VISA DEPT STORE NATIONAL BANKMACYS       WELLS FARGO HOME MORTGAGE   P   I        WFFNBGALLERY FURNITUR
ATTN BANKRUPTCY                          ATTN BANKRUPTCY                          WFFNB CARD SERVICES
PO BOX 8053                              MAC X7801-014                            PO BOX 51193
MASON OH 45040-8053                      FORT MILL SC 29715                       LAS VEGAS NV 89193




                                         DEBTOR
CARLA VEACH                                                                       RANDY W WILLIAMS
8615 CAPE ROYAL DR                       MICHAEL VEACH                            BYMAN ASSOCIATES PLLC
CYPRESS TX 77433-6684                    8615 CAPE ROYAL DR                       7924 BROADWAY
                                         CYPRESS TX 77433-6684                    SUITE 104
                                                                                  PEARLAND TX 77581-7933




REESE W BAKER                            SONYA LYNN KAPP
BAKER ASSOCIATES                         BAKER ASSOCIATES LLP
950 ECHO LANE                            950 ECHO LN SUITE 300
SUITE 300                                HOUSTON TX 77024-2756
HOUSTON TX 77024-2756
